2 F.3d 1149
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Benjamin Lee MARSHALL, Petitioner-Appellant,v.STATE OF VIRGINIA;  4th Judicial District Circuit Court,Respondents-Appellees.
    No. 93-6527.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 16, 1993.Decided:  August 5, 1993.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-92-769-R)
      Benjamin Lee Marshall, Appellant Pro Se.
      Thomas Drummond Bagwell, Assistant Attorney General, Richmond, Virginia, for Appellees.
      W.D.Va.
      DISMISSED.
      Before NIEMEYER, HAMILTON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Benjamin Lee Marshall seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.Sec. 2254 (1988).*  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Marshall v. State of Virginia, No. CA-92-769-R (W.D. Va.  Apr. 22, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         Since Marshall attacked the fact or duration of his confinement, the court properly construed his 42 U.S.C. Sec. 1983 (1988) complaint as a petition for habeas corpus relief under 28 U.S.C.Sec. 2254 (1988).  Todd v. Baskerville, 712 F.2d 70, 72 (4th Cir. 1983)
      
    
    